                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE


RICHARD N. TEXTOR, and wife,                     )
M. JEANNE TEXTOR,                                )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               )      Case No. 4:07-CV-44
                                                 )      MATTICE/LEE
CURTIS WILLIAMSON, d/b/a                         )
WILLIAMSON CONSTRUCTION,                         )
COFFEE COUNTY REALTY AND                         )
AUCTION, LLC AND FREDA K. JONES                  )
                                                 )
       Defendants.                               )


                COFFEE COUNTY REALTY AND AUCTION, LLC
                 AND FREDA K. JONES’ MOTION TO DISMISS



       Defendants, Coffee County Realty and Auction, LLC and Freda K. Jones, move this

Court pursuant to Fed R. Civ. P. 9(b) and 12(b)(6) for an Order dismissing the Complaint

against them because it fails to state a claim upon which relief could be granted.

Specifically, the Complaint fails to allege facts that under any theory could sustain the

allegation that either Coffee County Realty and Auction, LLC or Freda K. Jones violated the

RICO statute, or any other cited statute. Additionally, since the RICO claim must fail as a

matter of law, the remaining claims must likewise fail as they would have no independent

basis of jurisdiction in this Court. In support of this Motion, these defendants rely on the

accompanying memorandum of law.




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                                          Respectfully submitted,

                                          FARRAR & BATES, LLP


                                           /s/ Derrick A. Free
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this the 29th day of February, 2008, a true
and correct copy of the foregoing has been forwarded via the court’s electronic filing system
or U. S. Mail, first class postage prepaid, to:

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                                          /s/ Derrick A. Free      ___
                                          DERRICK A. FREE




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